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  Case:
     8:21-cv-02429-SDM-TGW
        1:22-cv-00084-MWM DocDocument
                              #: 39-1 Filed:
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                           CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     __________________________________/


                                            ORDER

           In the amended complaint, the plaintiffs, comprising thirty-three service mem-

     bers, two civilian federal employees, and one federal contractor, sue (Doc. 75) to en-

     join the “Federal COVID-19 Vaccine Mandate,” including Executive Order 14042,

     Executive Order 14043, an August 24, 2021 memorandum issued by Secretary Aus-

     tin, and “all related, resulting, subsequent, amended, or superseding federal orders or

     directives.” (Doc. 75 ¶ 92) As the parties agreed during a February 10, 2022 hear-

     ing, this action warrants severance.

           To effect more efficient case management and under Rule 21, Federal Rules of

     Civil Procedure, the non-service member plaintiffs and their claims are SEVERED.

     The clerk must open two new civil cases assigned to me and Magistrate Judge

     Thomas G. Wilson. In each new case, the clerk must file in the following order the
Case
  Case:
     8:21-cv-02429-SDM-TGW
        1:22-cv-00084-MWM DocDocument
                              #: 39-1 Filed:
                                        89 03/24/22
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     following items (including any attachments) from this case (8:21-cv-2429), and each

     item will stand in the severed case as if filed on the dated filed in 8:21-cv-2429.

           1.     This order.

           2.     The amended complaint. (Doc. 75)

           3.     The pending motion for a preliminary injunction. (Doc. 2)

           4.     The pending motion for class certification. (Doc. 35)

           5.     The order on the motion for preliminary injunction. (Doc. 40)

           6.     The opposition to class certification. (Doc. 42)

           7.     The supplemental memorandum in support of a preliminary injunction.
                  (Doc. 51)

           8.     The pending motion to proceed pseudonymously. (Doc. 55)

           9.     The supplemental opposition to a preliminary injunction. (Doc. 74)

           10.    The opposition to proceeding pseudonymously. (Doc. 79)

           Not later than FEBRUARY 21, 2022, the plaintiffs (1) must amend the com-

     plaint in the lower-numbered new case to proceed on behalf of the federal employees

     only, (2) must amend the complaint in the higher-numbered new case to proceed on

     behalf of the federal contractors only, and (3) must amend the complaint in this ac-

     tion (8:21-cv-2429) to proceed on behalf of the service members only. Each motion




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Case
  Case:
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                                                                                 3467



     pending in this action (8:21-cv-2429) is DENIED AS MOOT to the extent the mo-

     tion requests relief on behalf of non-service members.

           No party waives or otherwise loses any claim, defense, or objection due to this

     severance, and no party’s time to file or respond to any paper is affected by this sev-

     erance.

           ORDERED in Tampa, Florida, on February 12, 2022.




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